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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF KENTUCKY

CHRISTINA YEOMAN                                                                PLAINTIFF

   v.                                                   CASE NO. 5:17-cv-00435-KKC

UNIVERSITY OF KENTUCKY et al.                                                DEFENDANTS

                                        *** *** *** ***

             MOTION FOR LEAVE TO FILE AMENDED VERIFIED COMPLAINT

        Comes the Plaintiff, Christina Yeoman, by counsel, and pursuant to Fed. R. Civ. Proc. 15,

hereby moves this Honorable Court for leave to file the attached Amended Verified Complaint in

the above-captioned matter.

        Plaintiff’s tendered Amended Verified Complaint adds Linda Smitha, in her official

capacity as Director of the University of Kentucky’s Student Account Services, as a Defendant,

and removes Defendants, Equifax Information Services, LLC and Global Payments Direct, Inc.

d/b/a Heartland ECSI based on these Defendants’ settlements with Plaintiff. Because this case

was only recently filed, and the parties have yet to engage in any discovery, the filing of

Plaintiff’s Amended Verified Complaint will not prejudice any party.

                                             Respectfully submitted,

                                             /s/ David W. Hemminger
                                             David W. Hemminger
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                                             Louisville, Kentucky 40202
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                                             Counsel for Plaintiff, Christina Yeoman
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                                 CERTIFICATE OF SERVICE

I hereby certify that on the 4th day of January, 2018 I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to
all parties of record.


                                              /s/ David W. Hemminger
